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                          IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE EASTERN DISTRICT OF MISSOURI
                                        Eastern Division

In re:                                                     )
                                                           )
DAVID J. RICE                                              )
                                         Debtor.           )   Case No. 18-40777-705
                                                           )
U.S. BANK NATIONAL ASSOCIATION, AS                         )   Chapter 7
TRUSTEE FOR LEHMAN XS TRUST                                )
MORTGAGE PASS-THROUGH                                      )
CERTIFICATES, SERIES 2007-17H                              )
                            Movant,                        )   DOCKET NO. ____________
                                                           )
                               v.                          )
DAVID J. RICE                                              )
                                         Respondent.       )

                          MOTION FOR RELIEF FROM AUTOMATIC STAY
                           AND MEMORANDUM IN SUPPORT THEREOF

         COMES NOW, U.S. Bank National Association, as Trustee for Lehman XS Trust Mortgage
Pass-Through Certificates, Series 2007-17H its subsidiaries, affiliates, predecessors in interest,
successors or assigns (“Movant”) by and through its attorneys, Melinda J. Maune and Amy Tucker
Ryan, and the law firm of Martin Leigh PC, in support of Movant's Motion for Relief From Automatic
Stay states as follows:
         1.    On or about April 27, 2007, David J. Rice (“Debtor”) executed and delivered to First
Magnus Financial Corporation, an Arizona Corporation a Note (“Note”) in the original principal
amount of $92,648.00. A true and correct copy of the Note is attached hereto as Exhibit “A” and
incorporated herein by this reference.
         2.    The Note is secured by a Deed of Trust dated April 27, 2007, recorded on May 1, 2007,
in Book 17533 at Page 2544, executed and delivered by Debtors for the benefit of Mortgage Electronic
Registration Systems, Inc. solely as nominee for First Magnus Financial Corporation, an Arizona
Corporation, covering the following property:
         LOTS 274 OF PLEASANT HOLLOW PLAT 4, ACCORDING TO THE PLAT
         THEREOF RECORDED IN PLAT BOOK 151, PAGES 74 AND 75 OF THE ST.
         LOUIS COUNTY RECORDS.


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The above-described property is also known as 2302 Battlefield Dr., Florissant, MO 63031
(“Property”). A true and correct copy of the Deed of Trust is attached hereto as Exhibit “B” and
incorporated herein by reference.
       3.        Movant is the holder of the Note and Deed of Trust. Movant asserts it has the right to
foreclose should stay relief be obtained.
       4.        Debtor filed for relief under Chapter 7 of the United States Bankruptcy Code on
February 13, 2018
       5.        Per Debtor’s Chapter 7 Statement of Intention, Debtor intends to surrender the
collateral to Movant. Movant now seeks relief from the automatic stay in order that Movant may take
possession and dispose of said collateral.
       6.        The unpaid principal balance of this Note is $73,600.03.
       7.        Movant lacks adequate protection of its interest in the Property described in Paragraph
2 above. 11 U.S.C. § 362 (d) (1).
       8.        Upon information and belief, Debtor has little or no equity in the Property for the
benefit of the bankruptcy estate and said Property is not necessary for an effective reorganization. 11
U.S.C. §362(d)(2)(A) and §362(d)(2)(B).
       9.        Movant requests that any order modifying the stay be effective immediately as allowed
under Federal Bankruptcy Rule 4001(a)(3).
       WHEREFORE, for the foregoing reasons, Movant prays that this Court enter an Order
granting relief from the automatic stay to enable Movant to exercise any and all rights provided under
non-bankruptcy law and as set forth in the Note and Deed of Trust granting it an interest in said
property, including but not limited to foreclosure of the Property, to pursue a short sale, deed in lieu of
foreclosure or other foreclosure alternatives, to exercise its rights under state law to obtain possession
of the property, that any order modifying the stay be effective immediately as allowed under Fed. Rule
Bankr. P. 4001(a)(3), and for such other and further relief as is just and appropriate under the
circumstances.




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                                              Respectfully submitted,

                                              MARTIN LEIGH PC

                                              s/ Melinda J. Maune
                                              Melinda J. Maune, #49797MO, mjm@martinleigh.com
                                              Amy Tucker Ryan, #49047MO, atr@martinleigh.com
                                              1044 Main Street, Ste. 900
                                              Kansas City, Missouri 64105
                                              Telephone: (816) 221-1430
                                              Fax:           (816) 221-1044
                                              ATTORNEYS FOR MOVANT


                                    CERTIFICATE OF SERVICE

        I certify that a true and correct copy of the foregoing document was filed electronically on the
 th
6 day of April, 2018, with the United States Bankruptcy Court, and has been served on the parties in
interest via e-mail by the Court’s CM/ECF System as listed on the Court’s Electronic Mail Notice List.

        I certify that a true and correct copy of the foregoing document was filed electronically with the
United States Bankruptcy Court, and has been served by Regular United States Mail Service, first
class, postage fully pre-paid, addressed to the parties listed below on the 6th day of April, 2018:

David J. Rice
2020 Foggy Bottom Drive
Florissant, MO 63031
                                                        /s/ Melinda J. Maune
                                                        Melinda J. Maune, Attorney for Creditor




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                            IN THE UNITED STATES BANKRUPTCY COURT
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                                        Eastern Division

In re:                                                    )
                                                          )
DAVID J. RICE                                             )
                                        Debtor.           )   Case No. 18-40777-705
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U.S. BANK NATIONAL ASSOCIATION, AS                        )   Chapter 7
TRUSTEE FOR LEHMAN XS TRUST                               )
MORTGAGE PASS-THROUGH                                     )
CERTIFICATES, SERIES 2007-17H                             )
                            Movant,                       )   DOCKET NO. ____________
                                                          )
                               v.                         )
DAVID J. RICE                                             )
                                        Respondent.       )

                                       SUMMARY OF EXHIBITS

         The following exhibits in reference to the Motion for Relief from Automatic Stay are available
upon request:
                       A.      Note
                       B.      Deed of Trust
                                               Respectfully submitted,
                                               MARTIN LEIGH PC
                                               s/ Melinda J. Maune
                                               Melinda J. Maune, #49797MO, mjm@martinleigh.com
                                               Amy Tucker Ryan, #49047MO, atr@martinleigh.com
                                               1044 Main Street, Ste. 900
                                               Kansas City, Missouri 64105
                                               Telephone: (816) 221-1430
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6 day of April, 2018, with the United States Bankruptcy Court, and has been served on the parties in
interest via e-mail by the Court’s CM/ECF System as listed on the Court’s Electronic Mail Notice List.

        I certify that a true and correct copy of the foregoing document was filed electronically with the
United States Bankruptcy Court, and has been served by Regular United States Mail Service, first
class, postage fully pre-paid, addressed to the parties listed below on the 6th day of April, 2018:

David J. Rice
2020 Foggy Bottom Drive
Florissant, MO 63031
                                                        /s/ Melinda J. Maune
                                                        Melinda J. Maune, Attorney for Creditor




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